         Case: 23-1825        Document: 123              Filed: 10/20/2023       Pages: 2




                                           October 20, 2023

 VIA CM/ECF
 Office of the Clerk of Court
 United States Court of Appeals
 for the Seventh Circuit
 Everett McKinley Dirksen Courthouse
 219 S. Dearborn Street, Room 2722
 Chicago, IL 60604


       Re:     Caleb Barnett, et al. v. Kwame Raoul, et al., No. 23-1825
               (consolidated with Nos. 23-1353, 23-1793, 23-1826, 23-1827, and 23-1828)
               Appellees’ Citation of Supplemental Authority Pursuant to Rule 28(j)

       Plaintiffs-Appellees write to notify this Court of a recent ruling by the District Court for
the Southern District of California in Miller v. Bonta, S.D. Cal. No. 19-cv-01537-BEN-JLB, Dkt.
No. 175. That ruling comports with the District Court ruling in Caleb Barnett, et al. and may be
of considerable persuasive value to this court.

        The Court explained how some courts that have reasoned that firearms “most useful in
military service” can be banned are mistaken. “Heller made the logical connection between
weapons commonly possessed by law-abiding citizens for lawful purposes that would also be
useful for military purposes.” Miller, at pp. 12-13. “[C]ommonly owned weapons that may be
useful for war and are reasonably related to militia use are also fully protected, so long as they
are not useful solely for military purposes.” Id., at p. 13.

         The Court also pointed out how “historical twins” to California’s “assault weapon” ban
are not unimaginable, they just did not exist. “It could have been the case that the early states
prohibited ownership of rifles and muskets with bayonet attachments or firearms capable of
multiple shots without reloading…There were no such restrictions.” Id., at p. 38. More
importantly, and as Plaintiffs have argued in this case, dramatic leaps in firearm technology did
happen in the 19th century, but they were never banned. “[T]here are no state prohibitions on the
possession or manufacture of [Henry and Winchester] lever-action rifles in the State’s law list.”
Id., at p. 39.

        The Court went through some of the same proposed analogues argued by Illinois in this
case, rejecting them one by one as completely dissimilar to a ban on possession of common
firearms. These included trap gun laws, fire-safety laws related to gunpowder storage,

                                       $             $              $            $
                                   $                          $
         Case: 23-1825        Document: 123              Filed: 10/20/2023       Pages: 2
October 20, 2023
Page 2 of 2

restrictions on the carry of bowie knives and concealed pistols, surety laws, machinegun
restrictions, and racist laws. Id., pp. 41-55.

         Finally, the Court rejected California’s argument that actual use in self-defense shootings
is the relevant metric of “common use”. “An AR-15 under one’s bed at night is being used for
self-defense even when the night is quiet.” Id., p. 72.


                                       Sincerely,
                                       Michel & Associates, P.C.




                                       C.D. Michel




                                       $             $              $            $
                                   $                        $
